        Case 3:18-cv-00176-JWD-RLB Document 54               06/13/18 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA
MINUTE ENTRY:
June 13, 2018
DISTRICT JUDGE JOHN W. deGRAVELLES

PLANNED PARENTHOOD GULF COAST,
INC.; PLANNED PARENTHOOD CENTER
FOR CHOICE; JANE DOE #1; JANE DOE #2;
and JANE DOE #3
                                                        CIVIL ACTION
VERSUS
                                                        NO: 18-176-JWD-RLB
REBEKAH GEE, in her official capacity as
Secretary of the Louisiana Department of
Health

       This matter came on this day for a telephone status conference.

       PRESENT WERE:

                     Amy K. Van Zant, Jennifer M. Keighley, Mark Phillip Wine, Dylan M.
                     Bensinger, Rachel G. Shaley, Yekaterina M. Reyzis, Jennifer M.
                     Keighley, Brandon H. Robb, Andrea Lynn Rubin
                     Counsel for Plaintiff

                     Joseph Scott St. John
                     Counsel for Defendant

      The Court heard arguments from the parties on the pending motion to vacate the

hearing filed by the Defendant, (Doc. 48). After hearing arguments from the parties and for

oral reasons assigned, the Defendant’s motion to vacate the hearing for the preliminary

injunction calendared for the week of July 23, 2018, (Doc. 48) is GRANTED, and all

proceedings are STAYED pending the resolution of the Defendant’s Appeal.

       Signed in Baton Rouge, Louisiana, on June 18, 2018.

                                          S
                                      JUDGE JOHN W. deGRAVELLES
Cv 38a; T: 0:30
                                      UNITED STATES DISTRICT COURT
RECORDED/CONF. RM
                                      MIDDLE DISTRICT OF LOUISIANA
